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                                        UNITED STATES OF AMERICA
                                   FEDERAL TRADE COMMISSION
                                          WASHINGTON, D.C. 20580




  Office of the Secretary



                                                 March 4, 2024

The Honorable Lyle W. Cayce
Clerk of the Court
United States Court of Appeals for the Fifth Circuit
600 South Maestri Place
New Orleans, LA 70130

         Re:        Intuit, Inc., Petitioner v. Federal Trade Commission, Respondent, Case No. 24-
                    60040

Dear Mr. Cayce,

        Pursuant to Federal Rule of Appellate Procedure 17, I enclose with this letter “a certified
list adequately describing all documents, transcripts of testimony, and other material constituting
the record” before the Federal Trade Commission in In the Matter of Intuit, Inc., Docket No.
9408. F.R.A.P. 17(b)(1)(B). We are also forwarding a copy of this letter and the attached list to
counsel for Petitioner.

       Please call me at (202) 326-3310 if you have any questions about this submission. Thank
you for your attention.

                                                 Sincerely,


                                                 April J. Tabor
                                                 Secretary of the Commission

Cc: Counsel of record (via CM/ECF)
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                          UNITED STATES OF AMERICA
                     BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:            Lina M. Khan, Chair
                          Rebecca Kelly Slaughter
                          Alvaro M. Bedoya
__________________________________________
                                              )
                                              )              Docket No. 9408
In the Matter of                             )
                                              )              Intuit Inc.,
INTUIT INC., a corporation                   )               Petitioner v. Federal Trade
                                             )               Commission, Respondent
       Respondents.                          )
                                              )              United States Court of Appeals
                                              )              for the Fifth Circuit
                                             )
                                              )              No.    24-60040
__________________________________________)


        I, April J. Tabor, Secretary of the Federal Trade Commission and official custodian of its
records, do hereby certify that transmitted herewith is a true and correct list of the documents
constituting the record in the above-captioned matter.

       This record is certified to the United States Court of Appeals for the Fifth Circuit,
pursuant to the filing in said Court of a Petition for Review of the Opinion and Order issued by
the Federal Trade Commission on January 22, 2024.

       In Witness Whereof, I hereunto subscribe my name on behalf of said Federal Trade
Commission, with its Headquarters in the City of Washington, District of Columbia, this fourth
day of March 2024.



                                             April J. Tabor, Esq.
                                             Secretary of the Commission
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
 ZĞĐŽƌĚEŽ͘   ŽĐƵŵĞŶƚĂƚĞ                                 dŝƚůĞ                                KƐĐĂƌEŽ͘              ŽĐƵŵĞŶƚdǇƉĞĞƐĐƌŝƉƚŝŽŶ




                                                                                                                                                               Case: 24-60040
     ϭ          ϯͬϮϴͬϮϬϮϮ     D/E/^dZd/sWZdϯKDW>/Ed;EKEWh>/sZ^/KEͿ                 ϲϬϵϳϱϲ     D/E/^dZd/sKDW>/Ed^
     Ϯ          ϯͬϮϴͬϮϬϮϮ     D/E/^dZd/sWZdϯKDW>/Ed;Wh>/sZ^/KEͿ                    ϲϬϵϳϱϳ     D/E/^dZd/sKDW>/Ed^
     ϯ          ϯͬϮϴͬϮϬϮϮ                                                                         ϲϬϲϲϭϴ     yWZdKDDhE/d/KEKhDEd^
                              dZE^Z/Wd/KEK&yWZdsK/D/>D^^'KEDZ,Ϯϴ͕ϮϬϮϮ͕
                              &ZKD:KE>/Kt/d͕KhE^>&KZ/Edh/ddK<d,Z/Et,/d͕
                              K&&/K&KDD/^^/KEZW,/>>/W^͕Z'Z/E'/Edh/dWZdϯ^




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     ϰ          ϯͬϮϴͬϮϬϮϮ                                                                         ϲϬϲϲϭϵ     yWZdKDDhE/d/KEKhDEd^
                              dZE^Z/Wd/KEK&yWZdsK/D/>KEDZ,Ϯϴ͕ϮϬϮϮ͕&ZKD:KE
                              >/Kt/d͕KhE^>&KZ/Edh/d͕dKZK/E^WdKZ͕K&&/K&
                              KDD/^^/KEZt/>^KE͕Z'Z/E'/Edh/dWZdϯ^
     ϱ          ϯͬϮϴͬϮϬϮϮ     dZE^Z/Wd/KEK&ϮEsK/D/>KEDZ,Ϯϴ͕ϮϬϮϮ͕&ZKD:KE         ϲϬϲϲϮϬ     yWZdKDDhE/d/KEKhDEd^
                              >/Kt/d͕KhE^>&KZ/Edh/d͕dKZK/E^WdKZ͕K&&/K&
                              KDD/^^/KEZt/>^KE͕Z'Z/E'/Edh/dWZdϯ^
     ϲ          ϯͬϮϴͬϮϬϮϮ     dZE^Z/Wd/KEK&yWZdsK/D/>KEDZ,Ϯϴ͕ϮϬϮϮ͕&ZKD:KE    ϲϬϲϲϮϭ     yWZdKDDhE/d/KEKhDEd^




                                                                                                                                                               Page: 3
                              >/Kt/d͕KhE^>&KZ/Edh/d͕dKKDD/^^/KEZW,/>>/W^
                              Z'Z/E'/Edh/dWZdϯ^
     ϳ          ϯͬϯϬͬϮϬϮϮ     D/E/^dZd/s>t:h'Ζ^KZZ^/'Ed/E'D/E/^dZd/s        ϲϬϰϮϲϲ     >:/EdZ>KhdKZzKZZ^
                              >t:h'ͲWh>/
     ϴ          ϯͬϯϬͬϮϬϮϮ     D/E/^dZd/s>t:h'Ζ^WZKdd/sKZZ'KsZE/E'              ϲϬϰϮϴϳ     >:/EdZ>KhdKZzKZZ^




                                                                                                                                                               Date Filed: 03/04/2024
                              KE&/Ed/>DdZ/>ͲWh>/
     ϵ          ϰͬϱͬϮϬϮϮ      EKd/K&WWZE&/>zKhE^>^hWWKZd/E'd,KDW>/Ed     ϲϬϰϯϭϯ     KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                              ;&ZE^<ZEͿͲWh>/                                                        &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϭϬ          ϰͬϱͬϮϬϮϮ      EKd/K&WWZE&/>zKhE^>^hWWKZd/E'd,KDW>/Ed     ϲϬϰϯϭϰ     KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                              ;ZKZdKE'h/K>ͿͲWh>/                                                   &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϭϭ          ϰͬϱͬϮϬϮϮ      EKd/K&WWZE&/>zKhE^>^hWWKZd/E'd,KDW>/Ed     ϲϬϰϯϭϱ     KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                              ;ZW>ddͿͲWh>/                                                       &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϭϮ          ϰͬϲͬϮϬϮϮ      EKd/K&WWZE&/>zKhE^>^hWWKZd/E'd,KDW>/Ed     ϲϬϰϯϭϲ     KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                              ;:D^sE^ͿͲWh>/                                                         &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϭϯ          ϰͬϳͬϮϬϮϮ      EKd/K&WWZE&/>zKhE^>^hWWKZd/E'd,               ϲϬϰϯϱϯ     Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                              Z^WKEEd/Edh/d͕/E;s/͘'Z/E'ZͿͲWh>/                             EKd,Z&/>/E'^&KZd,>:
    ϭϰ          ϰͬϭϰͬϮϬϮϮ     E^tZE&&/ZDd/s&E^^K&Z^WKEEd/Edh/d͕/E͘Ͳ       ϲϬϰϯϴϵ     Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                              KE&/Ed/>                                                                   EKd,Z&/>/E'^&KZd,>:
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
    ϭϱ         ϰͬϭϰͬϮϬϮϮ   E^tZE&&/ZDd/s&E^^K&Z^WKEEd/Edh/d͕/E͘Ͳ      ϲϬϰϯϵϬ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Wh>/                                                                      EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                         Case: 24-60040
    ϭϲ         ϰͬϭϱͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZ^dd/E'WZ,Z/E'^,h>/E'    ϲϬϰϰϬϬ   >:/EdZ>KhdKZzKZZ^
                           KE&ZEͲWh>/
    ϭϳ         ϰͬϭϴͬϮϬϮϮ   EKd/K&WWZE&/>zKhE^>&KZZ^WKEEd/Edh/d͕      ϲϬϰϰϬϰ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           /E͘;:KEd,E͘W/</E͕:EE/&ZD/>//ΘZ<͘tKKDEͿͲ            EKd,Z&/>/E'^&KZd,>:
                           Wh>/
    ϭϴ         ϰͬϭϴͬϮϬϮϮ   :K/EdDKd/KEdKKEd/EhWZ/>ϮϮ͕ϮϬϮϮ͕WZ,Z/E'^,h>/E'    ϲϬϰϰϬϵ   Kd,Z:K/EdDKd/KE^&KZd,>:
                           KE&ZEͲWh>/
    ϭϵ         ϰͬϭϴͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZZ^dd/E'/E/d/>WZ,Z/E'     ϲϬϰϰϭϬ   >:/EdZ>KhdKZzKZZ^




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                           ^,h>/E'KE&ZEͲWh>/
    ϮϬ         ϰͬϮϱͬϮϬϮϮ                                                                      ϲϬϰϰϱϬ   dZ/>dZE^Z/Wd^
                           dZE^Z/Wd͕WZ,Z/E'^,h>/E'KE&ZE͕,>ZDKd>z
                           s/d>W,KEKEDKEz͕WZ/>Ϯϱ͕ϮϬϮϮ;Wh>/Ϳ͗W'^ϭͲϮϬ
    Ϯϭ         ϰͬϮϲͬϮϬϮϮ                                                                      ϲϬϰϰϱϭ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEdΖ^EKd/K&E/>K&WZ>/D/EZz/E:hEd/KEͲWh>/            EKd,Z&/>/E'^&KZd,>:
    ϮϮ         ϰͬϮϳͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^^,h>/E'KZZͲWh>/               ϲϬϰϰϲϯ   >:/EdZ>KhdKZzKZZ^




                                                                                                                                                         Page: 4
    Ϯϯ         ϱͬϰͬϮϬϮϮ    Z^WKEEdΖ^EKd/K&^dd>DEdt/d,^ddddKZEz^            ϲϬϰϱϮϮ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           'EZ>ͲWh>/                                                            EKd,Z&/>/E'^&KZd,>:
    Ϯϰ         ϱͬϰͬϮϬϮϮ    Z^WKEEdΖ^DKd/KEdKt/d,ZtDddZ&ZKD:h/d/KEͲ        ϲϬϰϱϮϰ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Wh>/                                                                      EKd,Z&/>/E'^&KZd,>:
    Ϯϱ         ϱͬϳͬϮϬϮϮ    KDD/^^/KEKZZt/d,Zt/E'DddZ&ZKD:h/d/KE             ϲϬϰϱϰϲ   KZZt/d,Zt/E'DddZ&ZKD:h/d/KE




                                                                                                                                                         Date Filed: 03/04/2024
                           WhZ^hEddKZh>ϯ͘Ϯϲ;ĐͿ
    Ϯϲ         ϴͬϭϵͬϮϬϮϮ                                                                      ϲϬϱϯϳϳ   KZZ^EEKd/^^,h>/E'KZ>Z'hDEd^
                           KDD/^^/KEKZZZdhZE/E'd,DddZdK:h/d/KEE                  EKd,ZKDD/^^/KEKZZ^EEKd/^
                           ^dd/E'Ets/Ed/Zz,Z/E'd
    Ϯϳ         ϴͬϮϮͬϮϬϮϮ   KDW>/EdKhE^>Ζ^DKd/KE&KZ^hDDZz/^/KEͲ                 ϲϬϱϯϴϮ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KE&/Ed/>                                                                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    Ϯϴ         ϴͬϮϮͬϮϬϮϮ                                                                      ϲϬϱϯϴϯ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^DKd/KE&KZ^hDDZz/^/KEͲWh>/                    &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    Ϯϵ         ϴͬϯϬͬϮϬϮϮ   Z^WKEEd/Edh/d/E͘Ζ^KWWK^/d/KEdKKDW>/EdKhE^>Ζ^        ϲϬϱϰϲϮ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           DKd/KE&KZ^hDDZz/^/KEͲKE&/Ed/>                                  EKd,Z&/>/E'^&KZd,>:
    ϯϬ         ϴͬϯϬͬϮϬϮϮ   Z^WKEEd/Edh/d/E͘Ζ^KWWK^/d/KEdKKDW>/EdKhE^>Ζ^        ϲϬϱϰϲϯ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           DKd/KE&KZ^hDDZz/^/KEͲWh>/                                        EKd,Z&/>/E'^&KZd,>:
    ϯϭ         ϵͬϱͬϮϬϮϮ    EKd/K&WWZE&/>zKh'>^:͘ZK^EZKhE^>&KZ       ϲϬϱϱϰϵ   d,/ZWZdz&/>/E'^&KZd,>:
                           d,/ZWZdz/^>>'KE>ͲWh>/
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
    ϯϮ          ϵͬϴͬϮϬϮϮ    KDW>/EdKhE^>Ζ^ZW>z/E^hWWKZdK&KDW>/EdKhE^>Ζ^        ϲϬϱϱϱϬ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            DKd/KE&KZ^hDDZz/^/KEͲKE&/Ed/>                                   &/E/E'^͕EKd,Z&/>/E'^&KZd,>:




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    ϯϯ          ϵͬϴͬϮϬϮϮ    KDW>/EdKhE^>Ζ^ZW>z/E^hWWKZdK&KDW>/EdKhE^>Ζ^        ϲϬϱϱϱϮ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            DKd/KE&KZ^hDDZz/^/KEͲWh>/                                         &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϯϰ         ϵͬϭϮͬϮϬϮϮ    D/E/^dZd/s>t:h'Ζ^&/Z^dZs/^^,h>/E'KZZͲ        ϲϬϱϱϳϬ   >:/EdZ>KhdKZzKZZ^
                            Wh>/
    ϯϱ         ϵͬϭϲͬϮϬϮϮ                                                                        ϲϬϱϲϮϲ   Wd/d/KE^dKYh^,͕Z^WKE^^dKWd/d/KE^dK
                                                                                                         Yh^,͕EWW>^&ZKDWd/d/KEdKYh^,
                            d,/ZWZdzzEd,/:͘ZKK<^ΖDKd/KEdKYh^,^hWKE                      /^/KE^
    ϯϲ         ϵͬϮϮͬϮϬϮϮ    EKd/K&WWZE&/>zKhE^>&KZd,Z^WKEEd/Edh/d    ϲϬϱϲϰϴ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕




                                                                                                                                                           Document: 42
                            /E͘;<d,Z/ED<z͕^,>zDZd/E͕s/E/WZ</E^͕EZ^              EKd,Z&/>/E'^&KZd,>:
                            ^>/E^͕W,K^/>KE^WEZdKͿͲWh>/
    ϯϳ         ϵͬϮϮͬϮϬϮϮ                                                                        ϲϬϱϲϰϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            EKd/K&WWZE&/>zKhE^>&KZd,Z^WKEEd/Edh/d͕            EKd,Z&/>/E'^&KZd,>:
                            /E͘;:K>zEZdh͕,Z>^Z/'͕E:D/E,W/E͕>EKZ
                            s/^͕DZ'Zd;DK>>zͿ/>>tzEZ:KͿͲWh>/
    ϯϴ         ϵͬϮϯͬϮϬϮϮ    Z^WKEEd/Edh/d/E͘Ζ^^hWW>DEd>Z^WKE^dKKDW>/Ed        ϲϬϱϲϳϬ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KhE^>Ζ^^ddDEdK&DdZ/>&d^^dKt,/,d,Z/^EK               EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                           Page: 5
                            'Eh/E/^^h&KZdZ/>ͲWh>/
    ϯϵ         ϵͬϮϵͬϮϬϮϮ    KDW>/EdKhE^>Ζ^ZW>zdKZ^WKEEd/Edh/d/EΖ^               ϲϬϱϳϮϱ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            ^hWW>DEd>Z^WKE^dKd,^ddDEdK&DdZ/>&d^^dK              &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                            t,/,d,Z/^EK'Eh/E/^^h&KZdZ/>ͲWh>/




                                                                                                                                                           Date Filed: 03/04/2024
    ϰϬ         ϵͬϯϬͬϮϬϮϮ    KDW>/EdKhE^>Ζ^ZW>zdKZ^WKEEd/Edh/d/E͘Ζ^              ϲϬϱϳϯϰ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            ^hW>DEd>Z^WKE^dKd,^ddDEdK&DdZ/>&d^^dK               &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                            t,/,d,Z/^EK'Eh/E/^^h&KZdZ/>ͲKE&/Ed/>
    ϰϭ         ϭϬͬϰͬϮϬϮϮ    D/E/^dZd/s>t:h'Ζ^KZZKEDKd/KEdKYh^,^hWKE       ϲϬϱϳϲϳ   >:/EdZ>KhdKZzKZZ^
                            ^ZsKEzEd,/:͘ZKK<^ͲWh>/
    ϰϮ         ϭϬͬϲͬϮϬϮϮ    Z^WKEEdΖ^DKd/KEdKKDW>WZKhd/KEK&KhDEd^Ͳ            ϲϬϱϳϴϮ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KE&/Ed/>                                                                 EKd,Z&/>/E'^&KZd,>:
    ϰϯ         ϭϬͬϳͬϮϬϮϮ    Z^WKEEdΖ^DKd/KEdKKDW>WZKhd/KEK&KhDEd^Ͳ            ϲϬϱϳϴϭ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Wh>/                                                                       EKd,Z&/>/E'^&KZd,>:
    ϰϰ         ϭϬͬϭϰͬϮϬϮϮ   Z^WKEEdΖ^DKd/KE&KZ/^KsZzWhZ^hEddKZh>ϯ͘ϯϲͲ          ϲϬϱϴϲϳ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Wh>/                                                                       EKd,Z&/>/E'^&KZd,>:
    ϰϱ         ϭϬͬϭϳͬϮϬϮϮ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/d/E͘Ζ^DKd/KEdK          ϲϬϱϴϳϮ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            KDW>WZKhd/KEK&KhDEd^ͲWh>/                                      &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
    ϰϲ         ϭϬͬϭϴͬϮϬϮϮ   EKd/K&WWZE&/>zKhE^>^hWWKZd/E'd,KDW>/Ed    ϲϬϱϵϬϬ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            ;^ZdKEE^E͕,Z/^d/EdKZK͕d,KD^,ZZ/^͕:Kz                      &/E/E'^͕EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                          Case: 24-60040
                            'KKDE͕K>>EZK/E^͕s/Z'/E/ZK^E:͘ZKE>ZKK<:Z͘Ϳ
                            ͲWh>/
    ϰϳ         ϭϬͬϭϵͬϮϬϮϮ   Z^WKEEdΖ^DKd/KEdKKDW>KEZE/E'KDW>/Ed                ϲϬϱϵϬϰ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KhE^>Ζ^Z^WKE^^dK/Edh/dΖ^&/Z^d^dK&/EdZZK'dKZz                 EKd,Z&/>/E'^&KZd,>:
                            Z^WKE^^ͲKE&/Ed/>
    ϰϴ         ϭϬͬϭϵͬϮϬϮϮ   Z^WKEEdΖ^DKd/KEdKKDW>KEZE/E'KDW>/Ed                ϲϬϱϵϬϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KhE^>Ζ^Z^WKE^^dK/Edh/dΖ^&/Z^d^dK&/EdZZK'dKZz                 EKd,Z&/>/E'^&KZd,>:
                            Z^WKE^^ͲWh>/




                                                                                                                                                          Document: 42
    ϰϵ         ϭϬͬϮϭͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZEz/E'Z^WKEEdΖ^DKd/KEͲ    ϲϬϱϵϭϰ   >:/EdZ>KhdKZzKZZ^
                            Wh>/
    ϱϬ         ϭϬͬϮϰͬϮϬϮϮ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdKZ^WKEEd/Edh/dΖ^DKd/KE      ϲϬϱϵϲϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            &KZ/^KsZzWhZ^hEddKZh>ϯ͘ϯϲͲWh>/                                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϱϭ         ϭϬͬϮϰͬϮϬϮϮ                                                                      ϲϬϱϵϳϰ   Wd/d/KE^dKYh^,͕Z^WKE^^dKWd/d/KE^dK
                            d,/ZWZdzs>Z/:K^,/Ζ^DKd/KEdKYh^,EͬKZ>/D/d                   Yh^,͕EWW>^&ZKDWd/d/KEdKYh^,
                            ^hWKEh^dhDͲWh>/                                               /^/KE^
    ϱϮ         ϭϬͬϮϰͬϮϬϮϮ   Z^WKEEdΖ^KWWK^/d/KEdKKDW>/EdKhE^>Ζ^DKd/KE&KZ         ϲϬϱϵϴϵ   DKd/KE^͕Z/&^͕EWZKWK^&/E/E'^΀WZdϯ΁




                                                                                                                                                          Page: 6
                            ^hDDZz/^/KE
    ϱϯ         ϭϬͬϮϲͬϮϬϮϮ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/d/E͘Ζ^DKd/KEdK         ϲϬϱϵϵϰ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            KDW>KEZE/E'KDW>/EdKhE^>Ζ^Z^WKE^^dK/Edh/dΖ^                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                            &/Z^d^dK&/EdZZK'dKZ/^




                                                                                                                                                          Date Filed: 03/04/2024
    ϱϰ         ϭϬͬϮϲͬϮϬϮϮ   Z^WKEEdΖ^ZYh^d&KZ>sdK&/>ZW>z/E^hWWKZdK&        ϲϬϱϵϵϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            DKd/KE&KZ/^KsZzWhZ^hEddKZh>ϯ͘ϯϲ                                 EKd,Z&/>/E'^&KZd,>:
    ϱϱ         ϭϬͬϮϲͬϮϬϮϮ   EKd/K&WWZE&/>z&ZE<'͘hZdE,Z/^d/E͘      ϲϬϱϵϵϵ   d,/ZWZdz&/>/E'^&KZd,>:
                            ^dKZ^KhE^>&KZd,/ZWZdzD>KdKDDhE/d/KE^
                            >d>^KK/E'h^/E^^^D>Kd^dZd'/DZ<d/E'ΘD/
                            Wh>/
    ϱϲ         ϭϬͬϮϲͬϮϬϮϮ   EKd/K&WWZE&/>z&ZE<'͘hZdE,Z/^d/E͘      ϲϬϲϬϬϬ   d,/ZWZdz&/>/E'^&KZd,>:
                            ^dKZ^KhE^>&KZd,/ZWZdzK>>/Z^/DKEͲWh/>
    ϱϳ         ϭϬͬϮϳͬϮϬϮϮ   d,/ZWZdz>/^sK>/E/Ζ^DKd/KEdKYh^,EͬKZ>/D/d           ϲϬϲϬϭϯ   d,/ZWZdz&/>/E'^&KZd,>:
                            ^hWKEh^dhDͲWh>/
    ϱϴ         ϭϬͬϮϳͬϮϬϮϮ   :K/EdDKd/KE&KZydE^/KEK&d/D&KZD>Kd                    ϲϬϲϬϭϳ   d,/ZWZdz&/>/E'^&KZd,>:
                            KDDhE/d/KE^>d͘dK&/>DKd/KEdKYh^,KZdK>/D/d
                            &Z>dZKDD/^^/KEΖ^^hWKEh^dhD
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
    ϱϵ         ϭϬͬϮϳͬϮϬϮϮ   :K/EdDKd/KE&KZydE^/KEK&d/D&KZK>>/Z͘^/DKEdK&/>    ϲϬϲϬϭϴ   d,/ZWZdz&/>/E'^&KZd,>:
                            DKd/KEdKYh^,KZdK>/D/d&Z>dZKDD/^^/KEΖ^




                                                                                                                                                        Case: 24-60040
                            ^hWKEh^dhD
    ϲϬ         ϭϬͬϮϴͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E':K/EdDKd/KE&KZ      ϲϬϲϬϮϳ   >:/EdZ>KhdKZzKZZ^
                            ydE^/KEK&d/DͲWh>/
    ϲϭ         ϭϬͬϮϴͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E':K/EdDKd/KE&KZ      ϲϬϲϬϮϴ   >:/EdZ>KhdKZzKZZ^
                            ydE^/KEK&d/D
    ϲϮ         ϭϬͬϯϭͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E'/EWZdEEz/E'   ϲϬϲϬϯϴ   >:/EdZ>KhdKZzKZZ^
                            /EWZdZ^WKEEdΖ^DKd/KEdKKDW>Z^WKE^^dK/Edh/dΖ^
                            &/Z^d^dK&/EdZZK'dKZ/^ͲWh>/




                                                                                                                                                        Document: 42
    ϲϯ         ϭϬͬϯϭͬϮϬϮϮ   dZE^Z/Wd͕KZ>Z'hDEd&KZd,KDD/^^/KE͕,>           ϲϬϲϭϱϭ   KZ>Z'hDEddZE^Z/Wd^
                            ZDKd>zs/KKDKEKdKZϯϭ͕ϮϬϮϮ;Wh>/E/EDZͿ͗
                            W'^ϭͲϳϱ
    ϲϰ         ϭϭͬϮͬϮϬϮϮ    Z^WKEEd/Edh/dΖ^^hWW>DEd>&/>/E'KEZE/E'KZ>         ϲϬϲϬϳϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Z'hDEdͲWh>/                                                         EKd,Z&/>/E'^&KZd,>:
    ϲϱ         ϭϭͬϯͬϮϬϮϮ    Z^WKEEd/Edh/d/EΖ^Z^WKE^dKs>Z/:K^,/Ζ^DKd/KEdK   ϲϬϲϭϬϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Yh^,EͬKZ>/D/d^hWKEh^dhDͲWh>/                          EKd,Z&/>/E'^&KZd,>:
    ϲϲ         ϭϭͬϯͬϮϬϮϮ    Z^WKEEd/Edh/d/EΖ^Z^WKE^dKs>Z/:K^,/Ζ^DKd/KEdK   ϲϬϲϭϬϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕




                                                                                                                                                        Page: 7
                            Yh^,EͬKZ>/D/d^hWKEh^dhDͲKE&/Ed/>                    EKd,Z&/>/E'^&KZd,>:
    ϲϳ         ϭϭͬϰͬϮϬϮϮ    KDW>/EdKhE^>Ζ^K:d/KEdKZ^WKEEd/Edh/dΖ^            ϲϬϲϭϬϵ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            ^hWW>DEd>&/>/E'KEZE/E'KZ>Z'hDEdͲWh>/                     &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϲϴ         ϭϭͬϰͬϮϬϮϮ    D/E/^dZd/s>t:h'Ζ^KZZKEDKd/KEdKYh^,KZ>/D/d    ϲϬϲϭϭϮ   >:/EdZ>KhdKZzKZZ^




                                                                                                                                                        Date Filed: 03/04/2024
                            ^hWKE^ZsKEs>Z/:K^,/ͲWh>/
    ϲϵ         ϭϭͬϳͬϮϬϮϮ    D/E/^dZd/s>t:h'Ζ^KZZEz/E'Z^WKEEdΖ^DKd/KE    ϲϬϲϭϮϳ   >:/EdZ>KhdKZzKZZ^
                            &KZ/^KsZzWhZ^hEddKZh>ϯ͘ϯϲͲWh>/
    ϳϬ         ϭϭͬϳͬϮϬϮϮ    Z^WKEEd/Edh/d/E͘Ζ^Z^WKE^dK>/^K>/E/Ζ^DKd/KEdK   ϲϬϲϭϮϴ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Yh^,EͬKZ>/D/d^hWKEh^dhDͲWh>/                          EKd,Z&/>/E'^&KZd,>:
    ϳϭ         ϭϭͬϳͬϮϬϮϮ    d,/ZWZdz>/^K>/E/Ζ^t/d,Zt>K&DKd/KEdKYh^,        ϲϬϲϭϯϬ   d,/ZWZdz&/>/E'^&KZd,>:
                            EͬKZ>/D/d^hWKEh^dhDͲWh>/
    ϳϮ         ϭϭͬϴͬϮϬϮϮ    Z^WKEEd/Edh/d/E͘Ζ^Z^WKE^dK>/^K>/E/Ζ^DKd/KEdK   ϲϬϲϭϮϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Yh^,EͬKZ>/D/d^hWKEh^dhDͲKE&/Ed/>                    EKd,Z&/>/E'^&KZd,>:
    ϳϯ         ϭϭͬϴͬϮϬϮϮ    :K/EdDKd/KE&KZydE^/KEK&d/D&KZD>Kd                  ϲϬϲϭϯϴ   Kd,Z:K/EdDKd/KE^&KZd,>:
                            KDDhE/d/KE^>d͘dK&/>DKd/KEdKYh^,KZdK>/D/d
                            &Z>dZKDD/^^/KEΖ^^hWKEh^dhDͲWh>/
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
    ϳϰ         ϭϭͬϴͬϮϬϮϮ    :K/EdDKd/KE&KZydE^/KEK&d/D&KZK>>/Z͘^/DKEdK&/>   ϲϬϲϭϰϭ   Kd,Z:K/EdDKd/KE^&KZd,>:
                            DKd/KEdKYh^,KZ>/D/d&Z>dZKDD/^^/KEΖ^^hWKE




                                                                                                                                                       Case: 24-60040
                            h^dhDͲWh>/
    ϳϱ         ϭϭͬϴͬϮϬϮϮ    D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E':K/EdDKd/KE&KZ     ϲϬϲϭϰϮ   >:/EdZ>KhdKZzKZZ^
                            ydE^/KEK&d/DͲWh>/
    ϳϲ         ϭϭͬϴͬϮϬϮϮ    D/E/^dZd/s>t:h'Ζ^KZZKEDKd/KEdKYh^,KZ>/D/d   ϲϬϲϭϰϰ   >:/EdZ>KhdKZzKZZ^
                            ^hWKE^ZsKE>/^K>/E/ͲWh>/
    ϳϳ         ϭϭͬϮϱͬϮϬϮϮ   :K/EdDKd/KE&KZydE^/KEK&d/D&KZK>>/Z͘^/DKEdK&/>   ϲϬϲϮϴϮ   Kd,Z:K/EdDKd/KE^&KZd,>:
                            DKd/KEdKYh^,KZdK>/D/d&Z>dZKDD/^^/KEΖ^
                            ^hWKEh^dhDͲWh>/




                                                                                                                                                       Document: 42
    ϳϴ         ϭϭͬϮϱͬϮϬϮϮ   :K/EdDKd/KE&KZydE^/KEK&d/D&KZD>KdKDDhE/d/KE^   ϲϬϲϮϴϱ   Kd,Z:K/EdDKd/KE^&KZd,>:
                            >d͘dK&/>DKd/KEdKYh^,KZdK>/D/d&Z>dZ
                            KDD/^^/KEΖ^^hWKEh^dhDͲWh>/
    ϳϵ         ϭϭͬϮϵͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E'd,/Z:K/EdDKd/KE   ϲϬϲϯϬϮ   >:/EdZ>KhdKZzKZZ^
                            &KZydE^/KEK&d/DͲWh>/
    ϴϬ         ϭϭͬϮϵͬϮϬϮϮ   D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E'd,/Z:K/EdDKd/KE   ϲϬϲϯϬϯ   >:/EdZ>KhdKZzKZZ^
                            &KZydE^/KEK&d/DͲWh>/
    ϴϭ         ϭϮͬϵͬϮϬϮϮ    KDW>/EdKhE^>Ζ^DKd/KEdKKDW>WZKhd/KEK&             ϲϬϲϰϭϱ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^




                                                                                                                                                       Page: 8
                            KhDEd^ͲKE&/Ed/>                                                 &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϴϮ         ϭϮͬϵͬϮϬϮϮ    KDW>/EdKhE^>Ζ^DKd/KEdKKDW>WZKhd/KEK&             ϲϬϲϰϭϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            KhDEd^ͲWh>/                                                       &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϴϯ         ϭϮͬϭϵͬϮϬϮϮ   Z^WKEEdΖ^DKd/KEdKKDW>WZKhd/KEK&KhDEd^E      ϲϬϲϰϳϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕




                                                                                                                                                       Date Filed: 03/04/2024
                            Zs/^WZ/s/>'>K'ͲKE&/Ed/>                                     EKd,Z&/>/E'^&KZd,>:
    ϴϰ         ϭϮͬϭϵͬϮϬϮϮ   Z^WKEEdΖ^KWWK^/d/KEdKDKd/KEdKKD>WZKhd/KEK&       ϲϬϲϰϴϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KhDEd^ͲWh>/                                                       EKd,Z&/>/E'^&KZd,>:
    ϴϱ         ϭϮͬϭϵͬϮϬϮϮ   Z^WKEEdΖ^DKd/KEdKKDW>WZKhd/KEK&KhDEd^E      ϲϬϲϰϴϴ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Zs/^WZ/s/>'>K'ͲWh>/                                           EKd,Z&/>/E'^&KZd,>:
    ϴϲ         ϭϮͬϮϭͬϮϬϮϮ                                                                   ϲϬϲϰϵϭ   >:/EdZ>KhdKZzKZZ^
                            D/E/^dZd/s>t:h'Ζ^KZZ/Zd/E'&hZd,ZZ^WKE^
    ϴϳ         ϭϮͬϮϴͬϮϬϮϮ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdKZ^WKEEdΖ^DKd/KEdK       ϲϬϲϱϰϵ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            KDW>WZKhd/KEK&KhDEd^EZs/^WZ/s/>'>K'Ͳ             &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                            Wh>/
    ϴϴ         ϭϮͬϮϴͬϮϬϮϮ   KDW>/EdKhE^>Ζ^ZW>z/E^hWWKZdK&DKd/KEdKKDW>       ϲϬϲϱϲϭ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            WZKhd/KEK&KhDEd^ͲKE&/Ed/>                                   &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϴϵ         ϭϮͬϮϴͬϮϬϮϮ   KDW>/EdKhE^>͛^ZW>z/E^hWWKZdK&DKd/KEdKKDW>       ϲϬϲϱϲϮ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            WZKhd/KEK&KhDEd^ͲWh>/                                         &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
    ϵϬ         ϭϮͬϯϬͬϮϬϮϮ                                                                       ϲϬϲϱϲϯ   >:/EdZ>KhdKZzKZZ^
                            D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E'KDW>/EdKhE^>Ζ^




                                                                                                                                                           Case: 24-60040
                            DKd/KEdKKDW>WZKhd/KEK&KhDEd^ͲWh>/
    ϵϭ          ϭͬϯͬϮϬϮϯ    KDD/^^/KEKZZydE/E'>/E&KZKDD/^^/KEZh>/E'KE        ϲϬϲϱϲϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            KDW>/EdKhE^>Ζ^DKd/KE&KZ^hDDZz/^/KE                              &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
    ϵϮ          ϭͬϯͬϮϬϮϯ    D/E/^dZd/s>t:h'Ζ^KZZEz/E'Z^WKEEdΖ^DKd/KE       ϲϬϲϱϳϬ   >:/EdZ>KhdKZzKZZ^
                            dKKDW>WZKhd/KEK&KhDEd^EZs/^WZ/s/>'>K'Ͳ
                            Wh>/
    ϵϯ          ϭͬϲͬϮϬϮϯ    /Edh/d/E͘Ζ^DKd/KE&KZ>sdK&/>^hZͲZW>z/E^hWWKZdK&     ϲϬϲϲϮϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Ez/E'KDW>/EdKhE^>Ζ^DKd/KE&KZ^hDDZz/^/KEͲ                   EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                           Document: 42
                            KE&/Ed/>
    ϵϰ          ϭͬϲͬϮϬϮϯ    /Edh/d/E͘Ζ^DKd/KE&KZ>sdK&/>^hZͲZW>z/E^hWWKZdK&     ϲϬϲϲϯϬ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            Ez/E'KDW>/EdKhE^>Ζ^DKd/KE&KZ^hDDZz/^/KEͲ                   EKd,Z&/>/E'^&KZd,>:
                            Wh>/
    ϵϱ         ϭͬϭϬͬϮϬϮϯ    KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/d/E͘Ζ^DKd/KE&KZ>s   ϲϬϲϲϲϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            dK&/>^hZZW>z/EKWWK^/d/KEdKKDW>/EdKhE^>Ζ^DKd/KE                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                            &KZ^hDDZz/^/KEͲKE&/Ed/>
    ϵϲ         ϭͬϭϬͬϮϬϮϯ    KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/d/E͘Ζ^DKd/KE&KZ>s   ϲϬϲϲϲϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^




                                                                                                                                                           Page: 9
                            dK&/>^hZZW>z/EKWWK^/d/KEdKKDW>/EdKhE^>Ζ^DKd/KE                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                            &KZ^hDDZz/^/KEͲWh>/
    ϵϳ         ϭͬϭϯͬϮϬϮϯ    EKd/K&t/d,Zt>K&WWZEK&,Z/^d/EdKZK͕            ϲϬϲϲϵϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            d,KD^,ZZ/^͕:Kz'KKDE͕K>>EZK/E^͕s/Z'/E/ZK^                 &/E/E'^͕EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                           Date Filed: 03/04/2024
                            E:͘ZKE>ZKK<͕:Z͘ͲWh>/
    ϵϴ         ϭͬϮϰͬϮϬϮϯ    :K/EdDKd/KE&KZ/EͲWZ^KEdZ/>E͕/&E^^Zz͕^ddh^       ϲϬϲϳϳϳ   Kd,Z:K/EdDKd/KE^&KZd,>:
                            KE&ZEͲWh>/
    ϵϵ         ϭͬϮϰͬϮϬϮϯ    KhE^>&KZZ^WKEEdΖ^EKd/K&,E'K&Z^^E           ϲϬϲϳϳϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KEdd/E&KZDd/KEͲWh>/                                                 EKd,Z&/>/E'^&KZd,>:
   ϭϬϬ         ϭͬϮϳͬϮϬϮϯ    EKd/K&t/d,Zt>K&WWZEzKhE^>&KZZ^WKEEd       ϲϬϲϳϵϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            ;>EKZs/^ͿͲWh>/                                                     EKd,Z&/>/E'^&KZd,>:
   ϭϬϭ         ϭͬϯϬͬϮϬϮϯ    D/E/^dZd/s>t:h'Ζ^KZZKE:K/EdDKd/KEdKKEhd        ϲϬϲϴϬϬ   >:/EdZ>KhdKZzKZZ^
                            s/Ed/Zz,Z/E'/EWZ^KEͲWh>/
   ϭϬϮ         ϭͬϯϭͬϮϬϮϯ    KDD/^^/KEKW/E/KEEKZZEz/E'^hDDZz/^/KEͲEKE        ϲϬϲϴϬϯ   KDD/^^/KE/EdZ>KhdKZzKZZ^&KZ/E/d/>
                            Wh>/                                                                       /^/KE
   ϭϬϯ         ϭͬϯϭͬϮϬϮϯ    KDD/^^/KEKW/E/KEEKZZEz/E'^hDDZz/^/KEͲ            ϲϬϲϴϬϰ   KDD/^^/KE/EdZ>KhdKZzKZZ^&KZ/E/d/>
                            Wh>/                                                                       /^/KE
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϬϰ         ϭͬϯϭͬϮϬϮϯ   KDD/^^/KEKZZ/Zd/E'&hZd,ZWZK/E'^E^W/&z/E'       ϲϬϲϴϬϴ   KDD/^^/KE/EdZ>KhdKZzKZZ^&KZ/E/d/>
                           &d^t/d,Khd^h^dEd/>KEdZKsZ^zͲWh>/                                /^/KE




                                                                                                                                                           Case: 24-60040
   ϭϬϱ         ϮͬϲͬϮϬϮϯ    :K/EdDKd/KE&KZydE^/KEK&d/D&KZD>Kd                      ϲϬϲϴϰϴ   Kd,Z:K/EdDKd/KE^&KZd,>:
                           KDDhE/d/KE^>d͘dK^</EDZdZdDEdK&
                           KhDEd^ͲWh>/
   ϭϬϲ         ϮͬϲͬϮϬϮϯ    :K/EdDKd/KE&KZydE^/KEK&d/D&KZK>>/Z͘^/DKEdK^</E     ϲϬϲϴϱϰ   Kd,Z:K/EdDKd/KE^&KZd,>:
                           DZdZdDEdK&KhDEd^ͲWh>/
   ϭϬϳ         ϮͬϳͬϮϬϮϯ    D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E'DKd/KE&KZ                ϲϬϲϴϲϰ   >:/EdZ>KhdKZzKZZ^
                           ydE^/KEK&d/D&KZD>KdKDDhE/d/KE^>d͘dK^</E
                           DZdZdDEdK&KhDEd^ͲWh>/




                                                                                                                                                           Document: 42
   ϭϬϴ         ϮͬϳͬϮϬϮϯ    D/E/^dZd/s>t:h'Ζ^KZZ'ZEd/E'DKd/KE&KZ                ϲϬϲϴϲϱ   >:/EdZ>KhdKZzKZZ^
                           ydE^/KEK&d/D&KZK>>/Z͘^/DKEdK^</EDZdZdDEd
                           K&KhDEd^ͲWh>/
   ϭϬϵ         ϮͬϭϬͬϮϬϮϯ   KDW>/EdKhE^>Ζ^DKd/KE&KZ/EDZdZdDEdK&               ϲϬϲϴϵϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           ^E^/d/sWZ^KE>E&/EE/>/E&KZDd/KE                                  &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϭϬ         ϮͬϭϬͬϮϬϮϯ   KDW>/EdKhE^>Ζ^DKd/KE/E>/D/EdKWZ>hZ^WKEEd         ϲϬϲϴϵϴ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           &ZKD/EdZKh/E'ddZ/>s/EK&WhZWKZdh^dKDZ                     &/E/E'^͕EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                           Page: 10
                           ^d/^&d/KE^&E^dK>//>/dz
   ϭϭϭ         ϮͬϭϬͬϮϬϮϯ   Z^WKEEdΖ^DKd/KE/E>/D/EdKy>h^hZszEZ>d         ϲϬϲϵϬϭ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           KW/E/KE^K&Ed,EEKsD^<z                                                  EKd,Z&/>/E'^&KZd,>:
   ϭϭϮ         ϮͬϭϬͬϮϬϮϯ   Z^WKEEd/Edh/dΖ^DKd/KE/E>/D/EdKy>hKZ>/D/d            ϲϬϲϵϬϮ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           KDW>/EdKhE^>Ζ^s/EK&KE^hDZKDW>/Ed^Ͳ                        EKd,Z&/>/E'^&KZd,>:
                           KE&/Ed/>




                                                                                                                                                           Date Filed: 03/04/2024
   ϭϭϯ         ϮͬϭϬͬϮϬϮϯ   /Edh/d/E͘Ζ^DKd/KE/E>/D/EdKy>hEKEͲ&/E>KZ/EKDW>d   ϲϬϲϵϬϯ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           sZd/^DEd^                                                               EKd,Z&/>/E'^&KZd,>:
   ϭϭϰ         ϮͬϭϬͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^DKd/KE&KZ/EDZZs/tK&Zd/E     ϲϬϲϵϬϰ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           dZ/>y,//d^                                                                EKd,Z&/>/E'^&KZd,>:
   ϭϭϱ         ϮͬϭϬͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^DKd/KE&KZ/EDZZs/tK&Zd/E     ϲϬϲϵϬϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           dZ/>y,//d^                                                                EKd,Z&/>/E'^&KZd,>:
   ϭϭϲ         ϮͬϭϬͬϮϬϮϯ   /Edh/d/E͘Ζ^DKd/KE/E>/D/EdKy>hKhdd                  ϲϬϲϵϬϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           sZd/^DEd^ͲWh>/                                                       EKd,Z&/>/E'^&KZd,>:
   ϭϭϳ         ϮͬϭϰͬϮϬϮϯ                                                                        ϲϬϲϵϭϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/dΖ^DKd/KE/E>/D/EdKy>hKZ>/D/d                     EKd,Z&/>/E'^&KZd,>:
                           KDW>/EdKhE^>Ζ^s/EK&KE^hDZKDW>/Ed^ͲWh>/
   ϭϭϴ         ϮͬϭϳͬϮϬϮϯ                                                                        ϲϬϲϵϱϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^WZdZ/>Z/&ͲKE&/Ed/>                             &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϭϵ         ϮͬϮϯͬϮϬϮϯ                                                                       ϲϬϲϵϴϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^WZdZ/>Z/&ͲWh>/                                  &/E/E'^͕EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                          Case: 24-60040
   ϭϮϬ         ϮͬϮϰͬϮϬϮϯ                                                                       ϲϬϳϬϭϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/d/E͘Ζ^DKd/KE/E>/D/E            &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                           dKy>hd^d/DKEzK&WZK&^^KZEd,EEKsD^<zͲWh>/
   ϭϮϭ         ϮͬϮϰͬϮϬϮϯ   KDW>/EdKhE^>Ζ^Z^WKE^dK/Edh/dΖ^DKd/KE&KZ/EDZ      ϲϬϳϬϭϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           Zs/tK&Zd/EdZ/>y,//d^ͲWh>/                                    &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϮϮ         ϮͬϮϰͬϮϬϮϯ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/dΖ^DKd/KE/E>/D/EdK     ϲϬϳϬϭϴ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           y>hKhddsZd/^DEd^ͲWh>/                                     &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϮϯ         ϮͬϮϰͬϮϬϮϯ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/dΖ^DKd/KE/E>/D/EdK     ϲϬϳϬϭϵ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^




                                                                                                                                                          Document: 42
                           y>hKZ>/D/dKDW>/EdKhE^>Ζ^s/EK&KE^hDZ                   &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                           KDW>/Ed^ͲWh>/
   ϭϮϰ         ϮͬϮϰͬϮϬϮϯ   KDW>/EdKhE^>Ζ^KWWK^/d/KEdK/Edh/dΖ^DKd/KE/E>/D/EdK     ϲϬϳϬϮϬ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           y>hEKEͲ&/E>KZ/EKDW>dsZd/^DEd^ͲWh>/                      &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϮϱ         ϮͬϮϰͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^KWWK^/d/KEdKKDW>/EdKhE^>Ζ^         ϲϬϳϬϰϬ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           DKd/KE/E>/D/EdKWZ>h/Edh/d&ZKD/EdZKh/E'ddZ/>               EKd,Z&/>/E'^&KZd,>:
                           s/EK&WhZWKZdh^dKDZ^d/^&d/KE^&E^dK




                                                                                                                                                          Page: 11
                           >//>/dzͲKE&/Ed/>
   ϭϮϲ         ϮͬϮϰͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^KWWK^/d/KEdKKDW>/EdKhE^>Ζ^         ϲϬϳϬϰϯ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           DKd/KE/E>/D/EdKWZ>h/Edh/d&ZKD/EdZKh/E'ddZ/>               EKd,Z&/>/E'^&KZd,>:
                           s/EK&WhZWKZdh^dKDZ^d/^&d/KE^&E^dK
                           >//>/dzͲWh>/
                           Z^WKEEdΖ^KWWK^/d/KEdKKDW>/EdKhE^>Ζ^DKd/KE&KZ/E




                                                                                                                                                          Date Filed: 03/04/2024
   ϭϮϳ         ϮͬϮϴͬϮϬϮϯ                                                                       ϲϬϳϬϯϴ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           DZdZdDEdK&^E^/d/sWZ^KE>E&/EE/>                        EKd,Z&/>/E'^&KZd,>:
                           /E&KZDd/KEͲWh>/
   ϭϮϴ         ϮͬϮϴͬϮϬϮϯ   D/E/^dZd/s>t:h'Ζ^KZZKEKDW>/EdKhE^>Ζ^            ϲϬϳϬϰϳ   >:/EdZ>KhdKZzKZZ^
                           DKd/KE&KZ/EDZdZdDEdͲWh>/
   ϭϮϵ         ϯͬϭͬϮϬϮϯ    D/E/^dZd/s>t:h'Ζ^KZZKEZ^WKEEdΖ^DKd/KE&KZ/E     ϲϬϳϬϱϲ   >:/EdZ>KhdKZzKZZ^
                           DZdZdDEdͲWh>/
   ϭϯϬ         ϯͬϳͬϮϬϮϯ                                                                        ϲϬϳϭϰϱ   >:/EdZ>KhdKZzKZZ^
                           D/E/^dZd/s>t:h'Ζ^KZZKEDKd/KE^/E>/D/EͲWh>/
   ϭϯϭ         ϯͬϭϱͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^^KEDKd/KE&KZ/EDZdZdDEd     ϲϬϳϮϯϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           K&Zd/Ey,//d^ͲWh>/                                                 EKd,Z&/>/E'^&KZd,>:
   ϭϯϮ         ϯͬϭϱͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^^KEDKd/KE&KZ/EDZdZdDEd     ϲϬϳϮϯϳ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           K&Zd/EdZ/>y,//d^ͲKE&/Ed/>                                     EKd,Z&/>/E'^&KZd,>:
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϯϯ         ϯͬϭϳͬϮϬϮϯ                                                                         ϲϬϳϮϱϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/d/E͘Ζ^WZdZ/>Z/&ͲKE&/Ed/>                         EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                            Case: 24-60040
   ϭϯϰ         ϯͬϭϳͬϮϬϮϯ                                                                         ϲϬϳϮϲϬ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/d/EΖ^WZdZ/>Z/&ͲWh>/                                EKd,Z&/>/E'^&KZd,>:
   ϭϯϱ         ϯͬϮϭͬϮϬϮϯ   EKd/K&WWZE&/>zKhE^>&KZZ^WKEEd/Edh/d/E͘     ϲϬϳϮϱϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           ;,KtZD͘^,W/ZKͿͲWh>/                                                   EKd,Z&/>/E'^&KZd,>:
   ϭϯϲ         ϯͬϮϭͬϮϬϮϯ   D/E/^dZd/s>t:h'Ζ^KZZKEZ^WKEEdΖ^^KE              ϲϬϳϮϳϳ   >:/EdZ>KhdKZzKZZ^
                           DKd/KE&KZ/EDZdZdDEdͲWh>/
   ϭϯϳ         ϯͬϮϮͬϮϬϮϯ   /Edh/dΖ^DKd/KE&KZ>sdKDE/d^y,//d>/^dEdKD/d     ϲϬϳϮϵϯ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           /EdKs/EZyϭϱϮϬ͕d,^hWW>DEd>yWZdZWKZdK&Zh                 EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                            Document: 42
                           >ͲKE&/Ed/>
   ϭϯϴ         ϯͬϮϮͬϮϬϮϯ   /Edh/dΖ^DKd/KE&KZ>sdKDE/d^y,//d>/^dEdKD/d     ϲϬϳϮϵϰ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           /EdKs/EZyϭϱϮϬ͕d,^hWW>DEd>yWZdZWKZdK&Zh                 EKd,Z&/>/E'^&KZd,>:
                           >ͲWh>/
   ϭϯϵ         ϯͬϮϮͬϮϬϮϯ   DKd/KE&KZ>sdK^hWW>DEdKDW>/EdKhE^>Ζ^y,//d>/^d      ϲϬϳϯϭϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           EdKD/d/EdKs/E'y'yϴϳϬ͕d,^hWW>DEd>yWZd                  &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                           ZWKZdK&Z͘zK>/KZ͕/Ed,>dZEd/s͕KWWK^/d/KEdK/Edh/dΖ^




                                                                                                                                                            Page: 12
                           DKd/KE&KZ>sdKDE/d^y,//d>/^dEd,^hWW>DEd>
                           yWZdZWKZdK&Zh>ͲWh>/
   ϭϰϬ         ϯͬϮϮͬϮϬϮϯ   DKd/KE&KZ>sdK^hWW>DEdKDW>/EdKhE^>Ζ^y,//d>/^d      ϲϬϳϯϴϰ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           EdKD/d/EdKs/E'y'yϴϳϬ͕d,^hWW>DEd>yWZd                  &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
                           ZWKZdK&Z͘zK>/KZ͕/Ed,>dZEd/s͕KWWK^/d/KEdK/Edh/dΖ^
                           DKd/KE&KZ>sdKDE/d^y,//d>/^dEd,^hWW>DEd>




                                                                                                                                                            Date Filed: 03/04/2024
                           yWZdZWKZdK&Zh>ͲKE&/Ed/>
   ϭϰϭ         ϯͬϮϰͬϮϬϮϯ   EKd/K&t/d,Zt>K&WWZE&/>zKhE^>&KZ              ϲϬϳϯϭϳ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/d/E͘;^WEZdKͿͲWh>/                                 EKd,Z&/>/E'^&KZd,>:
   ϭϰϮ         ϯͬϮϰͬϮϬϮϯ   dZE^Z/Wd͕&/E>WZ,Z/E'KE&ZE͕,>ZDKd>zs/           ϲϬϳϯϱϱ   dZ/>dZE^Z/Wd^
                           KKDKEDZ,Ϯϯ͕ϮϬϮϯ;Wh>/Ϳ͗W'^ϭͲϲϳ
   ϭϰϯ         ϯͬϮϳͬϮϬϮϯ   EKd/K&WWZE&/>zKhE^>&KZd,Z^WKEEd/Edh/d      ϲϬϳϯϭϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           /E͘;:KEd,E>/Kt/dͿͲWh>/                                             EKd,Z&/>/E'^&KZd,>:
   ϭϰϰ         ϯͬϮϳͬϮϬϮϯ   dZE^Z/Wd͕dZ/>sK>hDϭ͕,>/Et^,/E'dKE͕KEDZ,Ϯϳ͕     ϲϬϳϯϵϴ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ;Wh>/Ϳ͗W'^ϭͲϮϴϱ
   ϭϰϱ         ϯͬϮϴͬϮϬϮϯ                                                                         ϲϬϳϯϰϮ   >:/EdZ>KhdKZzKZZ^
                           D/E/^dZd/s>t:h'Ζ^KZZDDKZ/>//E'E,Zh>/E'^
   ϭϰϲ         ϯͬϮϴͬϮϬϮϯ   dZE^Z/Wd͕dZ/>sK>hDϮ͕,>/Et^,/E'dKE͕KEDZ,Ϯϴ͕      ϲϬϵϴϭϴ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ;Wh>/E/EDZͿ͗W'^ϮϴϲͲϯϰϮ
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϰϳ         ϯͬϯϬͬϮϬϮϯ   dZE^Z/Wd͕dZ/>sK>hDϯ͕,>/Et^,/E'dKE͕KEDZ,ϯϬ͕    ϲϬϵϴϮϬ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ;Wh>/E/EDZͿ͗W'^ϯϰϯͲϱϯϵ




                                                                                                                                                          Case: 24-60040
   ϭϰϴ         ϰͬϯͬϮϬϮϯ    dZE^Z/Wd͕dZ/>sK>hDϰ͕,>/Et^,/E'KE͕KEWZ/>ϯ͕      ϲϬϵϴϮϭ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ͗W'^ϱϰϬͲϳϲϮ
   ϭϰϵ         ϰͬϰͬϮϬϮϯ    dZE^Z/Wd͕dZ/>sK>hDϱ͕,>/Et^,/E'dKE͕͕KEWZ/>ϰ͕    ϲϬϵϴϮϯ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ͗W'^ϳϲϯͲϭϬϯϲ
   ϭϱϬ         ϰͬϱͬϮϬϮϯ    dZE^Z/Wd͕dZ/>sK>hDϲ͕,>/Et^,/E'dKE͕KEWZ/>ϱ͕     ϲϬϵϴϮϱ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ͗W'^ϭϬϯϳͲϭϮϴϮ
   ϭϱϭ         ϰͬϳͬϮϬϮϯ    dZE^Z/Wd͕dZ/>sK>hDϳ͕,>/Et^,/E'dKE͕KEWZ/>ϳ͕     ϲϬϳϱϴϰ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ;Wh>/E/EDZͿ͗W'^ϭϮϴϯͲϭϲϬϯ




                                                                                                                                                          Document: 42
   ϭϱϮ         ϰͬϵͬϮϬϮϯ    KDW>/EdKhE^>Ζ^Zh>ϯ͘ϰϯ;ĨͿZYh^dd,dK&&//>EKd/   ϲϬϳϰϰϴ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           d<E                                                                        &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϱϯ         ϰͬϭϬͬϮϬϮϯ   dZE^Z/Wd͕dZ/>sK>hDϴ͕,>/Et^,/E'dKE͕KEWZ/>ϭϬ͕    ϲϬϳϱϴϱ   dZ/>dZE^Z/Wd^
                           ϮϬϮϯ;Wh>/E/EDZͿ͗W'^ϭϲϬϰͲϭϴϰϭ
   ϭϱϰ         ϰͬϮϭͬϮϬϮϯ                                                                       ϲϬϳϱϮϰ   :K/EdDKd/KE^dKt/d,Zt&ZKD:h/d/KE
                           :K/EdDKd/KE&KZD/^^/KEK&^d/Wh>dy,//d^ͲWh>/
   ϭϱϱ         ϰͬϮϭͬϮϬϮϯ   KDW>/EdKhE^>Ζ^t/d,Zt>K&Zh>ϯ͘ϰϯ;&ͿZYh^dd,d        ϲϬϳϱϮϱ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^




                                                                                                                                                          Page: 13
                           K&&//>EKd/d<EͲWh>/                                            &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϱϲ         ϰͬϮϭͬϮϬϮϯ                                                                       ϲϬϳϱϮϳ   :K/EdDKd/KE^dKt/d,Zt&ZKD:h/d/KE
                           :K/EdDKd/KEdK&/>Zs/^dd,DEddK:yϮͲWh>/
   ϭϱϳ         ϰͬϮϭͬϮϬϮϯ                                                                       ϲϬϳϱϮϴ   :K/EdDKd/KE^dKt/d,Zt&ZKD:h/d/KE
                           :K/EdDKd/KEdK&/>Zs/^dd,DEddK:yϮͲKE&/Ed/>




                                                                                                                                                          Date Filed: 03/04/2024
   ϭϱϴ         ϰͬϮϰͬϮϬϮϯ   D/E/^dZd/s>t:h'Ζ^KZZKE:yϮE:yϯEKDW>d/KE     ϲϬϳϱϱϵ   >:/EdZ>KhdKZzKZZ^
                           K&s/Ed/Zz,Z/E'ͲWh>/
   ϭϱϵ         ϰͬϮϰͬϮϬϮϯ                                                                       ϲϬϳϱϲϬ   >:/EdZ>KhdKZzKZZ^
                           D/E/^dZd/s>t:h'Ζ^KZZKEWK^dͲdZ/>&/>/E'^ͲWh>/
   ϭϲϬ         ϰͬϮϳͬϮϬϮϯ   D/E/^dZd/s>t:h'Ζ^KZZKEDKd/KE^&KZ/EDZ          ϲϬϳϱϱϴ   >:/EdZ>KhdKZzKZZ^
                           dZdDEdͲWh>/
   ϭϲϭ         ϰͬϮϴͬϮϬϮϯ   D/E/^dZd/s>t:h'Ζ^KZZ>K^/E',Z/E'ZKZͲ          ϲϬϳϱϳϬ   >:/EdZ>KhdKZzKZZ^
                           Wh>/
   ϭϲϮ         ϱͬϮϯͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^WK^dͲdZ/>Z/&ͲKE&/Ed/>            ϲϬϳϳϰϮ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                                                                                                        EKd,Z&/>/E'^&KZd,>:
   ϭϲϯ         ϱͬϮϯͬϮϬϮϯ                                                                       ϲϬϳϳϰϭ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/d/E͘Ζ^WK^dͲdZ/>Z/&ͲWh>/                           EKd,Z&/>/E'^&KZd,>:
   ϭϲϰ         ϱͬϮϯͬϮϬϮϯ                                                                       ϲϬϳϳϰϰ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^WK^dͲdZ/>Z/&ͲKE&/Ed/>                          &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϲϱ         ϱͬϮϯͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^WZKWK^&/E/E'^K&&dE             ϲϬϳϳϰϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           KE>h^/KE^K&>tͲWh>/                                                  EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                          Case: 24-60040
   ϭϲϲ         ϱͬϮϯͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^WZKWK^&/E/E'^K&&dE             ϲϬϳϳϰϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           KE>h^/KE^K&>tͲKE&/Ed/>                                            EKd,Z&/>/E'^&KZd,>:
   ϭϲϳ         ϱͬϮϯͬϮϬϮϯ                                                                       ϲϬϳϳϱϯ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^WK^dͲdZ/>Z/&ͲWh>/                                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϲϴ         ϲͬϮϬͬϮϬϮϯ                                                                       ϲϬϳϵϯϲ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^WK^dͲdZ/>ZW>zZ/&ͲKE&/Ed/>                    &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϲϵ         ϲͬϮϬͬϮϬϮϯ                                                                       ϲϬϳϵϯϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           KDW>/EdKhE^>Ζ^WK^dͲdZ/>ZW>zZ/&ͲWh>/                          &/E/E'^͕EKd,Z&/>/E'^&KZd,>:




                                                                                                                                                          Document: 42
   ϭϳϬ         ϲͬϮϬͬϮϬϮϯ                                                                       ϲϬϳϵϯϴ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/d/E͘Ζ^WK^dͲdZ/>ZW>zZ/&ͲWh>/                     EKd,Z&/>/E'^&KZd,>:
   ϭϳϭ         ϲͬϮϬͬϮϬϮϯ                                                                       ϲϬϳϵϯϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEd/Edh/d/EΖ^WK^dͲdZ/>ZW>zZ/&ͲKE&/Ed/>                EKd,Z&/>/E'^&KZd,>:
   ϭϳϮ         ϲͬϮϬͬϮϬϮϯ   Z^WKEEd/Edh/d/E͘Ζ^ZW>/^dKKDW>/EdKhE^>Ζ^WZKWK^   ϲϬϳϵϰϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           &/E/E'^K&&EKE^>h^/KE^K&>tͲWh>/                             EKd,Z&/>/E'^&KZd,>:
   ϭϳϯ         ϲͬϮϮͬϮϬϮϯ                                                                       ϲϬϳϵϰϲ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕




                                                                                                                                                          Page: 14
                           Z^WKEEd/Edh/d/E͘Ζ^ZW>/^dKKDW>/EdKhE^>Ζ^WZKWK^            EKd,Z&/>/E'^&KZd,>:
                           &/E/E'^K&&dEKE^>h^/KE^K&>tͲKE&/Ed/>
   ϭϳϰ         ϲͬϯϬͬϮϬϮϯ                                                                       ϲϬϴϬϵϱ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEdΖ^EKd/K&^hWW>DEd>hd,KZ/dzͲWh>/                       EKd,Z&/>/E'^&KZd,>:
   ϭϳϱ         ϳͬϱͬϮϬϮϯ    KDW>/EdKhE^>Ζ^Z^WKE^dKZ^WKEEdΖ^EKd/K&             ϲϬϴϭϯϭ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           ^hWW>DEd>hd,KZ/dzͲWh>/




                                                                                                                                                          Date Filed: 03/04/2024
                                                                                                        &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϳϲ         ϴͬϳͬϮϬϮϯ                                                                        ϲϬϴϯϱϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           Z^WKEEdΖ^DKd/KEdK/^Yh>/&z,/Z>/ED͘<,EͲWh>/                EKd,Z&/>/E'^&KZd,>:
   ϭϳϳ         ϴͬϭϬͬϮϬϮϯ   KDW>/EdKhE^>Ζ^Z^WKE^dKZ^WKEEdΖ^DKd/KEdK             ϲϬϴϯϲϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           /^Yh>/&z,/Z>/ED͘<,EͲWh>/                                       &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϳϴ         ϴͬϭϬͬϮϬϮϯ   Z^WKEEdΖ^DKd/KE&KZ>sdK&/>ZW>z/E^hWWKZdK&          ϲϬϴϯϳϴ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           DKd/KEdK/^Yh>/&z,/Z>/ED͘<,EͲWh>/                             EKd,Z&/>/E'^&KZd,>:
   ϭϳϵ         ϴͬϮϵͬϮϬϮϯ   /E/d/>/^/KE/Ed,DddZK&/Edh/d͕/E͘                      ϲϬϴϰϴϭ   >:/E/d/>/^/KE^
   ϭϴϬ         ϵͬϱͬϮϬϮϯ    Z^WKEEdΖ^yW/dDKd/KEdKydE>/E^&KZ&/>/E'       ϲϬϴϱϬϮ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                           WW>Z/&^                                                               EKd,Z&/>/E'^&KZd,>:
   ϭϴϭ         ϵͬϲͬϮϬϮϯ    KDW>/EdKhE^>Ζ^KWWK^/d/KEdKZ^WKEEdΖ^yW/d           ϲϬϴϱϭϳ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                           DKd/KEdKydE>/E^&KZ&/>/E'WW>^Z/&^ͲWh>/                &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϭϴϮ         ϵͬϲͬϮϬϮϯ    /E/d/>/^/KEͲWh>/ZdsZ^/KE                          ϲϬϴϱϮϮ   >:/E/d/>/^/KE^
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϴϯ          ϵͬϲͬϮϬϮϯ    /E/d/>/^/KEͲZs/^/EDZsZ^/KE                        ϲϬϴϱϮϯ   >:/E/d/>/^/KE^
   ϭϴϰ         ϵͬϭϭͬϮϬϮϯ                                                                        ϲϬϴϱϰϯ   KZZ^dK^,Kth^͕EKZZ^/^WK^/E'K&




                                                                                                                                                            Case: 24-60040
                                                                                                         ^,Kth^WZK/E'^͖Kd,ZKDD/^^/KE
                            KDD/^^/KEKZZydE/E'>/E^&KZ&/>/E'WW>Z/&^                KZZ^EEKd/^
   ϭϴϱ         ϵͬϮϭͬϮϬϮϯ    EKd/K&WWZE&/>zKhE^>&KZd,Z^WKEEd/Edh/d͕   ϲϬϴϲϭϬ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            /E͘;E/>sK>,K<ͿͲWh>/                                               EKd,Z&/>/E'^&KZd,>:
   ϭϴϲ         ϵͬϮϲͬϮϬϮϯ    Z^WKEEdΖ^WW>Z/&ͲKE&/Ed/>                            ϲϬϴϲϰϴ   Z^WKEEdEKd/K&WW>
   ϭϴϳ         ϵͬϮϲͬϮϬϮϯ    Z^WKEEdΖ^WW>Z/&ͲWh>/                                  ϲϬϴϲϱϲ   Z^WKEEdEKd/K&WW>
   ϭϴϴ         ϭϬͬϮϬͬϮϬϮϯ   KDD/^^/KEKZZEz/E'DKd/KEdK/^Yh>/&zE^ddDEd        ϲϬϴϳϵϬ   KDD/^^/KE/EdZ>KhdKZzKZZ^&dZ/E/d/>




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                            K&,/Z>/ED͘<,E                                                        /^/KE
   ϭϴϵ         ϭϬͬϮϱͬϮϬϮϯ                                                                       ϲϬϴϴϮϯ   KDW>/EdKhE^>Z/&^EKd,Z&/>/E'^
                                                                                                         &KZd,KDD/^^/KE&dZd,/E/d/>/^/KE
                            KDW>/EdKhE^>Ζ^E^tZ/E'Z/&ͲKE&/Ed/>
   ϭϵϬ         ϭϬͬϮϱͬϮϬϮϯ                                                                       ϲϬϴϴϮϰ   KDW>/EdKhE^>Z/&^EKd,Z&/>/E'^
                                                                                                         &KZd,KDD/^^/KE&dZd,/E/d/>/^/KE
                            KDW>/EdKhE^>Ζ^E^tZ/E'Z/&ͲWh>/
   ϭϵϭ         ϭϬͬϯϭͬϮϬϮϯ                                                                       ϲϬϴϴϰϵ   KZZ^EEKd/^^,h>/E'KZ>Z'hDEd^




                                                                                                                                                            Page: 15
                                                                                                         EKd,ZKDD/^^/KEKZZ^EEKd/^
                            KDD/^^/KEKZZ^,h>/E'KZ>Z'hDEd
   ϭϵϮ         ϭϭͬϲͬϮϬϮϯ                                                                        ϲϬϴϴϴϲ   Z^WKEEdZ/&^EKd,Z&/>/E'^&KZd,
                            Z^WKEEdΖ^ZW>zZ/&ͲKE&/Ed/>                                      KDD/^^/KE&dZd,/E/d/>/^/KE
   ϭϵϯ         ϭϭͬϲͬϮϬϮϯ                                                                        ϲϬϴϴϴϳ   Z^WKEEdZ/&^EKd,Z&/>/E'^&KZd,




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                            Z^WKEEdΖ^ZW>zZ/&ͲWh>/                                            KDD/^^/KE&dZd,/E/d/>/^/KE
   ϭϵϰ         ϭϭͬϭϬͬϮϬϮϯ   Z^WKEEdΖ^yW/dDKd/KEdKKEd/EhKZ>Z'hDEddK         ϲϬϴϵϬϱ   Z^WKEEdZ/&^EKd,Z&/>/E'^&KZd,
                            KDDKdd,/DWE/E'^EdKE&/ZDd/KEK&dtK                        KDD/^^/KE&dZd,/E/d/>/^/KE
                            KDD/^^/KEZ^
   ϭϵϱ         ϭϭͬϭϯͬϮϬϮϯ                                                                       ϲϬϴϵϭϭ   KDW>/EdKhE^>Z/&^EKd,Z&/>/E'^
                            KDW>/EdKhE^>Ζ^KWWK^/d/KEdKZ^WKEEdΖ^yW/d                    &KZd,KDD/^^/KE&dZd,/E/d/>/^/KE
                            DKd/KEdKKEd/EhKZ>Z'hDEddKKDDKdd,
                            /DWE/E'^EdKE&/ZDd/KE,Z/E'K&dtKKDD/^^/KEZ^
   ϭϵϲ         ϭϭͬϭϯͬϮϬϮϯ   Z^WKEEdΖ^DdZ/>^&KZKZ>Z'hDEd^&KZd,&Z>       ϲϬϴϵϭϮ   Z^WKEEdZ/&^EKd,Z&/>/E'^&KZd,
                            dZKDD/^^/KEͲWh>/                                                    KDD/^^/KE&dZd,/E/d/>/^/KE
   ϭϵϳ         ϭϭͬϭϯͬϮϬϮϯ                                                                       ϲϬϴϵϭϰ   KDW>/EdKhE^>Z/&^EKd,Z&/>/E'^
                            KDW>/EdKhE^>Ζ^DdZ/>^&KZKZ>Z'hDEd&KZd,                  &KZd,KDD/^^/KE&dZd,/E/d/>/^/KE
                            &Z>dZKDD/^^/KEͲWh>/
WůĞĂĚŝŶŐƐ͕&ŝůŝŶŐƐ͕ĂŶĚdƌĂŶƐĐƌŝƉƚƐ
ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
   ϭϵϴ         ϭϭͬϭϱͬϮϬϮϯ                                                                         ϲϬϴϵϰϮ   KZZ^EEKd/^^,h>/E'KZ>Z'hDEd^
                            KDD/^^/KEKZZEz/E'Z^WKEEdΖ^DKd/KEdKKEd/Eh                      EKd,ZKDD/^^/KEKZZ^EEKd/^




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                            KZ>Z'hDEd
   ϭϵϵ         ϭϭͬϮϬͬϮϬϮϯ   KZ>Z'hDEd&KZd,KDD/^^/KE͕,>/Et^,/E'dKE͕͕         ϲϬϵϴϴϲ   KZ>Z'hDEddZE^Z/Wd^
                            KEEKsDZϮϬ͕ϮϬϮϯͿ;Wh>/Ϳ͗W'^ϭͲϳϯ
   ϮϬϬ         ϭϮͬϮϴͬϮϬϮϮ   KDW>/EdKhE^>Ζ^ZW>z/E^hWWKZdK&DKd/KEdKKDW>             ϲϬϲϱϲϮ   KDW>/EdKhE^>DKd/KE^͕Z/&^͕WZKWK^
                            WZKhd/KEK&KhDEd^ͲWh>/                                               &/E/E'^͕EKd,Z&/>/E'^&KZd,>:
   ϮϬϭ          ϭͬϱͬϮϬϮϰ    EKd/K&t/d,Zt>K&WWZEz:K>zEZdh^            ϲϬϵϮϵϵ   Z^WKEEdDKd/KE^͕Z/&^͕WZKWK^&/E/E'^͕
                            KhE^>&KZZ^WKEEdͲWh>/                                                EKd,Z&/>/E'^&KZd,>:
   ϮϬϮ         ϭͬϭϵͬϮϬϮϰ    KDD/^^/KE&/E>KZZEKW/E/KEK&d,KDD/^^/KEͲ               ϲϬϵϰϬϳ   &/E>KDD/^^/KEKZZ^EKW/E/KE^͕




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                            EKEWh>/sZ^/KE                                                              /E>h/E'KDD/^^/KEZ^ddDEd^
   ϮϬϯ         ϭͬϮϮͬϮϬϮϰ    KDD/^^/KE&/E>KZZEKW/E/KEK&d,KDD/^^/KEͲ               ϲϬϵϰϭϬ   &/E>KDD/^^/KEKZZ^EKW/E/KE^͕
                            ZdWh>/sZ^/KE                                                        /E>h/E'KDD/^^/KEZ^ddDEd^
   ϮϬϰ         ϭͬϯϬͬϮϬϮϰ                                                                          ϲϬϵϱϮϮ   Z^WKEEd&/>/E'^&dZ&/E>KZZ;/E>h/E'
                            Z^WKEEd/Edh/dΖ^WW>/d/KE&KZ^dzWE/E'Zs/tzd,              Wd/d/KE^&KZZKE^/Zd/KEͿ
                            hE/d^dd^KhZdK&WW>^&KZd,&/&d,/Zh/dͲWh>/
   ϮϬϱ          ϮͬϭͬϮϬϮϰ    Z^WKEEd/Edh/dΖ^Wd/d/KE&KZZs/tzd,hE/d^dd^         ϲϬϵϳϴϱ   Z^WKEEd&/>/E'^&dZ&/E>KZZ;/E>h/E'




                                                                                                                                                              Page: 16
                            KhZdK&WW>^&KZd,&/&d,/Zh/dͲWh>/                                Wd/d/KE^&KZZKE^/Zd/KEͿ
   ϮϬϲ          ϮͬϱͬϮϬϮϰ    KDW>/EdKhE^>Ζ^E^tZdKZ^WKEEd/Edh/dΖ^WW>/d/KE        ϲϬϵϱϴϰ   KDW>/EdKhE^>&/>/E'^&dZ&/E>KZZ
                            &KZ^dzWE/E'Zs/tͲKE&/Ed/>
   ϮϬϳ          ϮͬϱͬϮϬϮϰ    KDW>/EdKhE^>Ζ^E^tZdKZ^WKEEd/Edh/dΖ^WW>/d/KE        ϲϬϵϱϴϱ   KDW>/EdKhE^>&/>/E'^&dZ&/E>KZZ
                            &KZ^dzWE/E'Zs/tͲWh>/




                                                                                                                                                              Date Filed: 03/04/2024
   ϮϬϴ          ϮͬϱͬϮϬϮϰ    Z^WKEEd/Edh/d/EΖ^ZW>z/E^hWWKZdK&WW>/d/KE&KZ^dz   ϲϬϵϲϮϬ   Z^WKEEd&/>/E'^&dZ&/E>KZZ;/E>h/E'
                            WE/E'Zs/tzd,hE/d^dd^KhZdK&WW>^&KZd,                  Wd/d/KE^&KZZKE^/Zd/KEͿ
                            &/&d,/Zh/dͲWh>/
   ϮϬϵ         ϮͬϮϵͬϮϬϮϰ    KDD/^^/KE/^/KEEKZZEz/E'Z^WKEEdΖ^                   ϲϬϵϴϴϳ   KZZ^dK^,Kth^͕EKZZ^/^WK^/E'K&
                            WW>/d/KE&KZ^dzKZKZZWE/E'Zs/tzh͘^͘KhZdK&                 ^,Kth^WZK/E'^͖Kd,ZKDD/^^/KE
                            WW>^                                                                        KZZ^EEKd/^
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
ŽŵƉůĂŝŶƚŽƵŶƐĞůǆŚŝďŝƚƐ
'yϭ            dK             'yϭϬϯ
'yϭϬϱ          dK             'yϭϰϭ
'yϭϰϭͲ
'yϭϰϮ          dK             'yϭϲϲ
'yϭϲϲͲ
'yϭϲϳ          dK             'yϭϲϴ
'yϭϲϴͲ
'yϭϲϵ          dK             'yϭϳϰ
'yϭϳϰͲ
'yϭϳϱ
'yϭϳϱͲ
'yϭϳϲ          dK             'yϭϴϯ
'yϭϴϯͲ
'yϭϴϰ          dK             'yϭϴϵ
'yϭϴϵͲ
'yϭϵϬ          dK             'yϮϬϲ
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'yϮϯϵ          dK             'yϮϰϭ
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
ŽŵƉůĂŝŶƚŽƵŶƐĞůǆŚŝďŝƚƐ
'yϮϲϯ
'yϮϲϱ
'yϮϲϳ
'yϮϲϵ
'yϮϳϭ
'yϮϳϯ
'yϮϳϱ
'yϮϳϳ
'yϮϳϵ
'yϮϴϭ
'yϮϴϯ           dK            'yϯϯϳ
'yϯϰϬ           dK            'yϰϬϵ
'yϰϬϵͲ
'yϰϭϬ           dK            'yϰϮϴ
'yϰϯϬ           dK            'yϰϰϳ
'yϰϰϳͲ
'yϰϰϴ
'yϰϰϴͲ
'yϰϰϴͲ
'yϰϰϵ           dK            'yϰϱϮ
'yϰϱϮͲ
'yϰϱϯ
'yϰϱϯͲ
'yϰϱϰ           dK            'yϰϱϴ
'yϰϱϴͲ
'yϰϱϵ           dK            'yϰϴϯ
'yϰϴϯͲ
'yϰϴϰ           dK            'yϴϲϵ
'yϴϳϭ           dK            'yϴϳϳ
'yͲ^ƵŵŵĂƌǇϬϬϭ
'yͲ^ƵŵŵĂƌǇϬϬϮ
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
ZĞƐƉŽŶĚĞŶƚΖƐǆŚŝďŝƚƐ
ZyϬϬϭ          dK             ZyϬϭϯ
ZyϬϭϯͲ
ZyϬϭϰ          dK             ZyϬϯϰ
ZyϬϯϲ          dK             ZyϬϯϴ
ZyϬϯϴͲ
ZyϬϯϵ          dK             ZyϬϰϮ
ZyϬϰϰ
ZyϬϰϰͲ
ZyϬϰϱ          dK             ZyϬϰϳ
ZyϬϰϵ          dK             ZyϬϱϳ
ZyϬϱϳͲ
ZyϬϱϴ
ZyϬϱϴͲ
ZyϬϱϵ          dK             ZyϬϲϱ
ZyϬϲϳ          dK             ZyϬϳϰ
ZyϬϳϲ          dK             ZyϬϵϳ
ZyϬϵϳͲ
ZyϬϵϴ          dK             ZyϭϬϲ
ZyϭϭϬ          dK             ZyϭϮϯ
ZyϭϮϳ          dK             ZyϭϰϮ
Zyϭϰϰ
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Zyϭϰϵ          dK             Zyϭϱϭ
Zyϭϱϯ          dK             Zyϭϱϱ
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ZyϭϵϬ          dK             Zyϭϵϴ
ZyϮϬϬ          dK             ZyϮϭϬ
ZyϮϭϬͲ
ZyϮϮϮ          dK             ZyϮϮϯ
ZyϮϮϱ          dK             ZyϮϮϲ
ZyϮϮϵ          dK             ZyϮϯϯ
ZyϮϯϲ
ZyϮϯϴ          dK             ZyϮϰϭ
ZyϮϰϰ          dK             ZyϮϰϲ
ZyϮϰϴ          dK             ZyϮϱϭ
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
ZĞƐƉŽŶĚĞŶƚΖƐǆŚŝďŝƚƐ
ZyϮϱϯ          dK             ZyϮϱϲ
ZyϮϲϬ          dK             ZyϮϳϱ
ZyϮϳϳ          dK             ZyϮϴϯ
ZyϮϴϱ          dK             ZyϮϵϱ
ZyϮϵϱͲ
ZyϮϵϲ          dK             ZyϯϬϬ
ZyϯϬϬͲ
ZyϯϬϭ
ZyϯϬϭͲ
ZyϯϬϮ          dK             ZyϯϭϬ
ZyϯϭϬͲ
Zyϯϭϭ          dK             Zyϯϰϴ
ZyϯϱϮ          dK             Zyϯϱϰ
Zyϯϱϲ          dK             Zyϯϴϰ
ZyϯϴϰͲ
Zyϯϴϱ
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Zyϯϴϲ          dK             Zyϯϴϳ
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ZyϰϯϵͲ
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ZyϲϬϳ          dK             ZyϲϮϲ
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ZyϳϮϬ          dK             ZyϳϮϮ
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ZyϳϮϯ          dK             Zyϳϲϱ
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
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ZyϵϮϰͲ
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ZyϵϰϯͲ
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘
ZĞƐƉŽŶĚĞŶƚΖƐǆŚŝďŝƚƐ
ZyϭϱϬϯ         dK             Zyϭϱϭϵ
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ZyϭϱϰϮͲ
Zyϭϱϰϯ         dK             Zyϭϱϱϱ
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ŽĐŬĞƚEŽ͘ϵϰϬϴ͕/ŶƚŚĞDĂƚƚĞƌŽĨ/ŶƚƵŝƚ͕/ŶĐ͘

:ŽŝŶƚǆŚŝďŝƚƐ
:yϬϬϭ           dK           :yϬϬϯ

ZĞũĞĐƚĞĚǆŚŝďŝƚƐ
'yϴϳϬ
ZyϭϱϮϬ
